    Case: 3:22-cv-00100-MJN-CHG Doc #: 1-5 Filed: 04/14/22 Page: 1 of 1 PAGEID #: 49
                                                           ELECTRONICALLY FILED
                                                           COURT OF COMMON PLEAS
                                                           Tuesday, March 15, 2022 11 :37:58 AM
                                                           CASE NUMBER: 2022 CV 01134 Docket ID: 36158244
                                                           MIKE FOLEY
                                                           CLERK OF COURTS MONTGOMERY COUNTY OHIO




                                        MIKE FOLEY
                         MONTGOMERY COUNTY CLERK OF COURTS
                          41 N. PERRY STREET, DAYTON, omo 45422

                               INSTRUCTIONS FOR SERVICE


OLWIN METAL FABRICATION LLC
PLAINTIFF/PETITIONER




MULTl-CAM INC.
DEFENDANT/RESPONDENT


PLEASE ISSUE SERVICE TO: (Name and Address)
MULTl-CAM INC.
1025 WEST ROYAL LANE
DFW AIRPORT, TX 75261

MULTICAM GREAT LAKES INC.
18 CARNEGIE WAY
WEST CHESTER, OH 45246

MULTICAM GREAT LAKES INC.
2727 ELMRIDGE DRIVE NW
GRAND RAPIDS, Ml 49534

VIA: Service by Clerk

SERVICE PROVIDER:

TO BE SERVED (List all Documents to be Served)
Case Information Sheet, Complaint

Electronically Requested by: Richard L. Carr




                                               EXHIBIT C
